Case: 5:03-cr-QOsa7-IRA) Dped#: OR Filed] )owe6/2C)-Lof 7. PagelD #: 760

For The Northem District Of Ohio
United States of American Case Wb. 5’O03cr 287
Plait ff - Respandernt S54 cv (FA
Vv
enc Kartal Judge Jolbn R Adams
Delendant-Peli boner Wiz? | -
oii eae WSN ae to

Motusn Far Reconsideration

The Movant, ric Bartoli, aching Pio se ancl tw Some, pauperis comes
bejore the court Seeking a Temedy Laith respecttoanordur hanel-
ed down loy the court ow Februar 13 2020. Sod “order” Gorpartedly
remedies claims pul fosetly wn the Mavants habeas corpus Elect on-
der 28 USC § 2255 and deckebad August 13, 2014. The Movant clatins
Whe order’ is notare medly, wstead itsan attempt fo sweep the
real iasues Uncerthe rug. Giver whats jut been sad) av ex \elana-
tion Is 1p Order.

Backars ond :

On Avayel 12, 2019 the Movant tiled ahabeas corpus Undlur 28 USC§
22%S5 allearna inellective acs istance af counse| (IAC). The Movant

head five issues fohis (AC claim’
i) &x Post Facts Statute vinlad ions,
i) Vuolations af the Movants Sixth Amend men! right toa
“Speedy Trial”,
tn) Wleoal extradi han,
W) prosecutorial misconduct anc
Case: 5:03-cr-00387-JRA Doc #: 98 Filed: 03/26/20 2 of 7. PagelD #: 761

Vv) Branch of Pre Plea Agree ment, regularities withthe
last minvle nclosion of Victim (mpact Lellers fatlureat
delense counsel to abide by the Plea Ravee ment etc. .+

On December 12 , 2019 the qovernmenl Vleda Response in Rural
Conaession by Yhe United States of America’ and ankedd the coud
fo vorale tne sentence Under 28 USC§ 2255 ad mitling thal tlleaal
sentences existed), but completely iQnoring the (AC claams and
the other Jour issves ted toi}. On December 23,2014 the Mowmut

| Filed a Response. to the epvern ments paral concession andi
included a Decoration for Entryot Defaul}.

One month later on January 22,2020, the Movant fileda” Mohign to
Take Judicval Nokes”, citing constitutional dafects in the indiet-
Ment, the Menna- Blackledge Rechine and gueshoning the courts
jurisdiction. This vas followed) by the oloremenhicned ‘order’on
February 13,2020, vacating the Movants sentence mesting all
pending motions, wills lear no explanationasto ulhy. The
“order” Sorled) to dance He [AC claim or-tine four re manning \9-
aves or how it could meal a mohon quashening its jurisdiction.
1+ even tailed to say chy fhe sentence Was Megal

A\ rap ment

The Movant's habeas wan Filed under 28 09C.§ 2255 and the rele-
vant sechons of the skatule read as follows:

28 USC § 2265; Fedral Osbody’ remedies on moans atlack-
ng, sentence

la) A prisoner m coslody onder a senterce da court edkablich -
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ech by Actot Congress claimino the riaht to be released) Upon
the ground that the sentence Was imposed in Wolation of
the Genstituhon or laws ot the US, or the court was without
jurisdicton to 1M pose such sentence Or Hnat the sentenc
Was IN excess ot maximum authorized) by law aris olher-
wise subjectto collateral atoek, may move the court Which
mposed the sentence to Vacate , set asids or correc} the sen-
tence.
(6) Onless the ration and the sles and the recorded he
case conclusively shou that the prisoner (9 enhitledte no
reliet the court will comne nokce thereat fo lee served ugon
the US Attorney, qronta prompt heanna thereon, delermine
the issves and make fi ndings dt fact and canclusions of law
wrth respect there to. If the court finds the judgment Woo
rendered without junsduction or that the sentence imposed)
wan rol authorized by lawor otherwise open fo collateral
attack, or that Hnere has been sudna denvalor intinnce men!
of the consfrlitonal ralts ot the Prisoner Gs to rendur
the judament volnerable ts colloteral attack the court
gpa) vocerte and set aside the juckament and shall duochorae
the prisoner or resentence hin or granto newtnal oY Cor-
rect the sentence as may auppecur appropriate .
In fhe cage at hand the ‘arder” vacated the sentence bul failed!
ta hdd an evidlenhary hearing or “datermine the issven and
make findings ot fact ancl concusionsof law voith respect there-
te.” PBUSCE 2255 (b). Bu vacating the sentence the coort can’t
claw the facts werent true. In USv Shatvoryary, 2014 Us App
LEXIS 27685 (9th C, 2019) the court stated tha} Shalvoryan Seed
Q 2255 mohion arguing that her counsel wa0 wncllectwe tin
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~negshating her glean agreement. She curved thal the distnct
Court erored in denying her motion withoul holding an evidlen -
hary hearing pursuant to 28 U9C $2255 (bh,

Tne Sth Crevit Gort ot Appeals has quite a bitte Say with re-
spect to the tssve at hard. In Maclloud v8, 504 Fed Appx 585,555
(6thC 2017) the court held ‘a hearing should lve granted) golessthe
motion can be conclusively determined cither by the mation it -
self or by the files and records af ne trial coud talack mer),
‘The court goes an to savy that aw ev identiory hearing (> requayr-
ed where the halean pehtoner olfers more than a mere agser-
thon, bol presants atoctual nanative af events trad is nether
contradicted by {he records nor inherent \noredible The pur-
pose othe hearing isto allow the @murtto make Jactual daler-
minations based an more thayna dafendants odftdau and the.
COntory representations of the govern ment. This sertimers
Wad repeated in Thom pson v US, #28 Fed Appx 527,956 (6ynC,
2018),” The burden however, that a haleao peti honer must
bearts show entitlement is relatively lualt. Unless the mokon
for relief Under 26 USCS 2255 and the 4 tles ancd records ot
the cane show fal the peli toner is entitled 10 0 rehet.a
coud shall Ghe languace ci amand))"qrant 3 Prompl hearing
theresn.” This theme is tepeated yetacain ww Falgan vVS,650
Fed) Appx 086,886 (GIhC, 2016) with the aoort declaring,” where
there is.a factual dispote a holoess court must hold an eviden-
tary hearing to determine the trotrot the petitioners claims.
Unless the record conclusively shaws that the peliticner isen-
titled 40 no rehet the court shall granl a prompt hearing to dale —
mine the isaves and) make findings of fact and conclusiansat

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law.

Other diotructs have been uct ao oclament wher tf comestaa
petitioner's right toa prompt hearing sa dalermine + ndings ol foct
and conclusions ot law. The Third Groot in Cherys VS 405 Fed
Appx 589, 541 (3rd C2010) ruled Hnat “in the contextafan IAC
claim presented ina $2255 petton a duobruct court mos there-
fore determine whether | Considuring astrvue all nonin wlove-tac-
tua| claims the wetrhoner“slates a. colorolle claim for relielurcler
Strickland v Woghinaton, 466 US 668 (1984) - thatis that counsels
(IAS deticient and fhatthis dobiciency prejudcacd the Bel tisner:
USv Dawson, 854 Fd 923 928 (3: C1988). Ina mere recent cane the
game circuit, USv Tolliver, 80 Fad 138,140 (re, 2018), sac! they have
interpreted) 28 USC § 2235 (io) fo Mean that “Ushere a Petition alleacs
any Jocts worranting any reel undur § 2255 thatare not cleerly
resolued by the record, the distrcl court 1s dol wpted $0 follow the
eletutory mandade to held an eudenhary heanna, Root), 432 F324
al SAG Cquoting Usu McGu ,A4l0 F2A 124 134 (3rAC, 2008), Similar de-
cisions have been found in othercivcuits «See USu Graham , 722 fed
Appx 211 (SHC, 2019); [Riole u US Ig US App 24466 (llth C20R)* USu
Eindh 851 F3ck 402 (Sth C, 2017), OSv Simmons 763 feck Appx 303 (At C
2019); US v Whaley, #83 Fed Appx 706 GtaC, 2018); and) Brock: Miller
VUS 887 F24 298 GC, 2018).

Conclusion

By vacating He Movant's sentence He coor! demonstrated beyond
@ reasanalle dvb! Hol the habeae in question contains real 1s-
suse. By siqninga gen ertc “ordar without! stating ushy, the

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court Sarled fo com ply with 2B USC § 2255 (6), I+ let Many Qves-
tons unanswered, important questions like fim factthe Movant
hod aw illegal sentence whal part did district ditense cooneel
play mit? Bu vacahing the sentence while, iQnoring the (seus of
}AC Ghe core ot the bobaas araument), is the court sau cooncel
had ns duty ts point trisovt? Avother ouseten (Nvoluco Ha appli
cahon ot the illegal semtence remedy. Hex pol facts statutes can
be found in the indictment, adtaduken, plenagreemant CLOG
ment, and change ot plea hearwra, how lott the court only appadd
a remedy 4 the scntence® Then there are the ignored issuescl
IAC Treaty vwolationes, the Sixth Amendment visledion ata rughtte
a speedy tral, posccvlorval miscondud and semfencing (ssucs
Gwen hats been soul, the Movant oaks the caurd t6 comply
folly vit 28 USC§ 7755 () and respond to all the issues con-
tained (1 dhe habbes.o (in prompt fadmuon . The Movant hoo been
sbjecled to legal sentences and other volatians of his “ans
Oo

for yoors and he believes this entitles him tothe remedy
duomissal vorth Prejudice

|, 2ric Bartoli, sweeur undur penalty of perjury pursuant to 28 092
$1946 thod al) herein ts true tothe best of muy aloility,

March 22, 2020 CS

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Northaasd Ohio Grrection Cenler
2240 Hobloardl Reh

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